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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-274V
                                        UNPUBLISHED


    DONNA HOLCOMB,                                          Chief Special Master Corcoran

                        Petitioner,                         Filed: July 7, 2021
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Leigh Finfer, Muller Brazil, LLP, Dresher, PA, for petitioner.

Mollie Danielle Gorney, U.S. Department of Justice, Washington, DC, for respondent.

                                   RULING ON ENTITLEMENT1

       On March 3, 2020, Donna Holcomb filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a left shoulder injury related to vaccine
administration (SIRVA) resulting from the adverse effects of an influenza vaccination she
received on November 15, 2018. Petition at 1. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

       On June 11, 2021, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Specifically, Respondent determined that “[P]etitioner has satisfied the criteria set forth in
the Vaccine Injury Table and the Qualifications and Aids to Interpretation.” Id. at 4-5.

1 Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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Respondent concluded that Petitioner satisfied all legal prerequisites for compensation
under the Act. Respondent further agrees that the scope of damages to be awarded is
limited to petitioner’s left SIRVA and its related sequelae only. Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                 s/Brian H. Corcoran
                                 Brian H. Corcoran
                                 Chief Special Master




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